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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
In re:
                                                                           App. Case No. 22-cv-06254 (VB)
HBL SNF, LLC, d/b/a EPIC REHABILITATION
AND NURSING AT WHITE PLAINS,                                               Chapter 11

                                                                           Case No. 21-22623 (SHL)
                                                   Debtor.
-----------------------------------------------------------------------x

WHITE PLAINS HEALTHCARE PROPERTIES I, LLC,

                                                     Plaintiff,

                                against                                    Adversary Proceeding

HBL SNF, LLC, LIZER JOZEFOVIC A/K/A LIZER                                  Case No. 21-07096 (SHL)
JOZEFOVIC, and MARK NEUMAN,

                    Defendants and Third-Party Plaintiffs,

                                against

CCC EQUITIES, LLC, PROJECT EQUITY
CONSULTING, THE CONGRESS COMPANIES,
HOWARD FENSTERMAN, WILLIAM NICHOLSON, and
METROPOLITAN COMMERCIAL BANK

                                       Third-Party Defendants
-----------------------------------------------------------------------x

      WHITE PLAINS HEALTHCARE PROPERTIES I, LLC’S DESIGNATION OF
       ADDITIONAL ITEMS TO BE INCLUDED IN RECORD AND COUNTER-
            STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL

        Pursuant to Rule 8009 of the Federal Rules of Bankruptcy Procedure, Appellee White

Plains Healthcare Properties I, LLC (“WPHP”), by and through its undersigned counsel,

respectfully submits the following designation of additional items to be included in the record on

appeal and counter-statement of the issues to be presented on appeal and cross-appeal (the




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“Counter-Statement”) in response to Appellant HBL SNF, LLC’s (“HBL”) Designation of Items

to be Included in the Record on Appeal, dated August 4, 2022 [Adv. Pro. Dkt. No. 73].

         DESIGNATION OF ADDITIONAL ITEMS TO BE INCLUDED IN THE
         RECORD ON APPEAL

         WPHP designates for inclusion in the record on appeal the additional items listed below

from the docket in White Plains Healthcare Properties I, LLC, Adv. Pro. No. 21-07096:

     Proceeding No.     Filing Date     Doc No.                         Docket Text

    21-07096             11/8/2021      1-26 (at       Notice of Motion for Summary Judgment
    (Bankr. S.D.N.Y.)                   pp. 51-        (originally filed in Supreme Court of the State
                                          54)          of New York, County of Westchester, Index
                                                       No. 60278/2020, NYSCEF Doc. No. 183)

    21-07096             11/8/2021     1-26 (pp.       Affirmation of Alfred E. Donnellan with
    (Bankr. S.D.N.Y.)                   55-237)        Exhibit 1 through 11 (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. Nos. 184-185)

    21-07096             11/8/2021     1-27 (pp.       Exhibits 2 through 11 to the Affirmation of
    (Bankr. S.D.N.Y.)                   7-184)         Alfred E. Donnellan (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. Nos. 186-194) 1

    21-07096             11/8/2021     1-27 (pp.       Affidavit of William A. Nicholson with
    (Bankr. S.D.N.Y.)                  185-234)        Exhibits 12 through 14 (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. Nos. 196, 198, 199) 2




1
 Exhibit 11 (NYSCEF Doc. No. 195) could not be filed on ECF due to size or damage to file, Adv. Pro.
Dkt. 1-33, and will be separately provided to the Court.
2
 Exhibit 12 (NYSCEF Doc. No. 197) could not be filed on ECF due to size or damage to file, Adv. Pro.
Dkt. 1-33, and will be separately provided to the Court.



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     Proceeding No.     Filing Date     Doc No.                         Docket Text

    21-07096             11/8/2021     1-28 (pp.       Exhibits 15-23, 35 (part 1) to the Affidavit of
    (Bankr. S.D.N.Y.)                    7-103         William A. Nicholson (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. Nos. 200-205; 207-209) 3

    21-07096             11/8/2021     1-29 (pp.       Exhibits 35 (part 2), 36-37 to the Affidavit of
    (Bankr. S.D.N.Y.)                    1-76)         William A. Nicholson (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. Nos. 209-211)

    21-07096             11/8/2021     1-29 (pp.       Affidavit of Edward O. Tabor with Exhibits
    (Bankr. S.D.N.Y.)                   77-103)        24-26 (originally filed in Supreme Court of the
                                                       State of New York, County of Westchester,
                                                       Index No. 60278/2020, NYSCEF Doc. Nos.
                                                       212-215)

    21-07096                                           Exhibits 27-33, 38-41 to the Affidavit of
    (Bankr. S.D.N.Y.)                                  Edward O. Tabor (originally filed in Supreme
                                                       Court of the State of New York, County of
                                                       Westchester, Index No. 60278/2020, NYSCEF
                                                       Doc. Nos. 216-226) (not filed on ECF as part
                                                       of removal, to be separately provided to Court)

    21-07096                                           Affidavit of Howard Fensterman with Exhibit
    (Bankr. S.D.N.Y.)                                  34 (originally filed in Supreme Court of the
                                                       State of New York, County of Westchester,
                                                       Index No. 60278/2020, NYSCEF Doc. Nos.
                                                       227-228) (not filed on ECF as part of removal,
                                                       to be separately provided to Court)

    21-07096                                           Statement of Material Facts As To Which
    (Bankr. S.D.N.Y.)                                  There Are No Genuine Issues To Be Tried
                                                       (originally filed in Supreme Court of the State
                                                       of New York, County of Westchester, Index
                                                       No. 60278/2020, NYSCEF Doc. No. 229) (not
                                                       filed on ECF as part of removal, to be
                                                       separately provided to Court)



3
 Exhibit 21 (NYSCEF Doc. No. 206) could not be filed on ECF due to size or damage to file, Adv. Pro.
Dkt. 1-33, and will be separately provided to the Court.



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     Proceeding No.     Filing Date     Doc No.                         Docket Text

    21-07096                                           Memorandum of Law By Plaintiff and Third-
    (Bankr. S.D.N.Y.)                                  Party Defendants In Support of Their Motion
                                                       For Summary Judgment (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. No. 230) (not filed on ECF as
                                                       part of removal, to be separately provided to
                                                       Court)

    21-07096             11/8/2021     1-31 (pp.       Affidavit of Lizer Jozefovic In Opposition To
    (Bankr. S.D.N.Y.)                   17-81)         Motion For Summary Judgment And In
                                                       Support Of Cross-Motion To Strike with
                                                       Exhibits A through G (originally filed in
                                                       Supreme Court of the State of New York,
                                                       County of Westchester, Index No. 60278/2020,
                                                       NYSCEF Doc. Nos. 236-238, 240, 241, 243) 4

    21-07096             11/8/2021     1-32 (pp.       Exhibits H through P to the Affidavit of Lizer
    (Bankr. S.D.N.Y.)                    1-81)         Jozefovic In Opposition To Motion For
                                                       Summary Judgment And In Support Of Cross-
                                                       Motion To Strike (originally filed in Supreme
                                                       Court of the State of New York, County of
                                                       Westchester, Index No. 60278/2020, NYSCEF
                                                       Doc. Nos. 244-249, 251-252) 5

    21-07096             11/8/2021     1-30 (pp.       Exhibit Q to the Affidavit of Lizer Jozefovic In
    (Bankr. S.D.N.Y.)                    5-29)         Opposition To Motion For Summary Judgment
                                                       And In Support Of Cross-Motion To Strike
                                                       (originally filed in Supreme Court of the State
                                                       of New York, County of Westchester, Index
                                                       No. 60278/2020, NYSCEF Doc. No. 253)

    21-07096             11/8/2021     1-30 (pp.       Response To Statement of Material Facts
    (Bankr. S.D.N.Y.)                   30-40)         (originally filed in Supreme Court of the State
                                                       of New York, County of Westchester, Index
                                                       No. 60278/2020, NYSCEF Doc. No. 254)




4
 Exhibits C and F (NYSCEF Doc. Nos. 239, 242) could not be filed on ECF due to size or damage to file,
Adv. Pro. Dkt. 1-33, and will be separately provided to the Court.
5
 Exhibit N (NYSCEF Doc. No. 250) could not be filed on ECF due to size or damage to file, Adv. Pro.
Dkt. 1-33, and will be separately provided to the Court.



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 Proceeding No.     Filing Date   Doc No.                          Docket Text

21-07096            11/8/2021     1-30 (pp.       Memorandum Of Law In Opposition To
(Bankr. S.D.N.Y.)                  41-69)         Motion For Summary Judgment And In
                                                  Support Of Cross-Motion To Strike (originally
                                                  filed in Supreme Court of the State of New
                                                  York, County of Westchester, Index No.
                                                  60278/2020, NYSCEF Doc. No. 255)

21-07096            11/8/2021       1-39          Reply Declaration of Alfred E. Donnellan with
(Bankr. S.D.N.Y.)                                 Exhibits A through C (originally filed in
                                                  Southern District of New York, Case No. 21-
                                                  cv-9048 (PMH), ECF Doc. 37)

21-07096            11/8/2021       1-40          Reply Declaration of William Nicholson
(Bankr. S.D.N.Y.)                                 (originally filed in Southern District of New
                                                  York, Case No. 21-cv-9048 (PMH), ECF Doc.
                                                  38)

21-07096            11/8/2021       1-41          Reply Declaration of Edward O. Tabor
(Bankr. S.D.N.Y.)                                 (originally filed in Southern District of New
                                                  York, Case No. 21-cv-9048 (PMH), ECF Doc.
                                                  39)

21-07096            11/8/2021       1-42          Reply Memorandum Of Law By Plaintiff And
(Bankr. S.D.N.Y.)                                 Third-Party Defendants In Further Support Of
                                                  Their Motion For Summary Judgment
                                                  (originally filed in Southern District of New
                                                  York, Case No. 21-cv-9048 (PMH), ECF Doc.
                                                  40)

21-07096            6/29/2022        63           Motion For Reargument Of The Memorandum
(Bankr. S.D.N.Y.)                                 Of Decision Dated May 20, 2022

21-07096            6/29/2022        64           Notice Of Motion To Reargue
(Bankr. S.D.N.Y.)
21-07096             7/8/2022        65           White Plains Healthcare Properties I, LLC’s
(Bankr. S.D.N.Y.)                                 Memorandum Of Law In Opposition To
                                                  HBL’s Motion For Reargument Of The
                                                  Memorandum Of Decision Dated May 20,
                                                  2022

21-07096            7/19/2022        67           Order Denying Debtor’s Motion For
(Bankr. S.D.N.Y.)                                 Reargument Of The Memorandum Of Decision
                                                  Dated May 20, 2022



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  Proceeding No.      Filing Date    Doc No.                        Docket Text

 21-07096                                          Transcript from July 19, 2022 Hearing (not
 (Bankr. S.D.N.Y.)                                 filed on ECF, to be separately provided to
                                                   Court)


       COUNTER-STATEMENT OF ISSUE TO BE PRESENTED ON APPEAL

       Whether this Court should affirm the Bankruptcy Court’s ruling that the lease between

HBL, as tenant, and WPHP, as landlord, had been terminated prior to the commencement of

HBL’s bankruptcy proceeding.


 Dated: August 18, 2022                     Respectfully submitted,
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